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        YDULDEOHUDWHDFFRXQW"
        
        ✔    No
            Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not
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           ✔
               No
               Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification agreement.
                (Court approval may be required before the payment change can take effect.)
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      Debtor 11:19-bk-11041                  Doc 33 Last
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                                                                                     05/19/20       10:19:51
                                                                                       number (LINQRZQ)             Desc Main
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                                                    Document             Page 2 of 7
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 The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and telephone number.


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    
    ✔   I am the creditor.

       I am the creditor’s authorized agent.



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 8    /s/Armenia Harrell
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      Signature
                                                                                    05/19/2020
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        Harrell, Armenia                                                           VP Loan Documentation
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        First Name           Middle Name      Last Name              7LWOH


 Company Wells Fargo Bank, N.A.
         _B____________________BB____________________________________

 Address    MAC N9286-01Y
            ___________________________B_________BB______BB______________
            Number                  Street

            1000 Blue Gentian Road
            BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
            $GGUHVV

             Eagan                                   MN      55121-7700
            BBBB_______________________________________________BBBBBBBB__
              City                                       State      ZIPCode



                     800-274-7025                                                  NoticeOfPaymentChangeInquiries@wellsfargo.com
 Contact phone BBBBBBBBBBBBBBBBBBBBBBBBB                                         BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
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Official Form 410S1                                       1RWLFHRI0RUWJDJH3D\PHQW&KDQJH                                            page 
          Case 1:19-bk-11041         Doc 33       Filed 05/19/20 Entered 05/19/20 10:19:51                    Desc Main
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                     UNITED STATES BANKRUPTCY COURT            Page 3 of 7

                                                       Southern District of Ohio


                                                    Chapter 13 No. 1911041
                                                    Judge: Beth A. Buchanan

In re:
Alishia N. Kidd
                                          Debtor s 

                                          CERTIFICATE OF SERVICE
I hereby certify that this Notice, including all attachments, is being served on or before May 20, 2020 via filing with the US
Bankruptcy Court's CM ECF system or by mailing or providing a copy of this document to a vendor for mailing: By U.S. Postal
Service First Class Main Postage Prepaid or FedEx.


Debtor:                            %\863RVWDO6HUYLFH)LUVW&ODVV0DLO3RVWDJH3UHSDLGRU)HG([
                                    Alishia N. Kidd
                                    1228 Anderson Ferry Road

                                    Cincinnati OH 45238



                                   %\863RVWDO6HUYLFH)LUVW&ODVV0DLO3RVWDJH3UHSDLGRU)HG([
                                    N/A




Debtor’s Attorney:                 %\&RXUW V&0(&)V\VWHPUHJLVWHUHGHPDLODGGUHVV
                                    Amanda Rose
                                    The Rose Law Office
                                    35 East Seventh Street
                                    Suite 610
                                    Cincinnati OH 45202


                                   %\&RXUW V&0(&)V\VWHPUHJLVWHUHGHPDLODGGUHVV
                                   N/A




Trustee:                           %\&RXUW V&0(&)V\VWHPUHJLVWHUHGHPDLODGGUHVV
                                    Margaret A Burks

                                    600 Vine Street Suite 2200

                                    Cincinnati OH 45202

                                                          @@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@
                                                          /s/Armenia Harrell
                                                             VP Loan Documentation
                                                             Wells Fargo Bank, N.A.
Case 1:19-bk-11041                   Doc 33            Filed 05/19/20 Entered 05/19/20 10:19:51                                                     Desc Main
                                                                    Page 4Escrow
                                                                           of 7 Review Statement
                                     Return Mail Operations
                                     PO Box 14547      Document           For informational purposes only
                                     Des Moines, IA 50306-4547
                                                                                               Statement Date:                                    May 11, 2020
                                                                                               Loan number:
                                                                                               Property address:
                                                                                                    1228 ANDERSON FERRY ROAD
                                                                                                    CINCINNATI OH 45238


                                                                                               Customer Service
                                                                                                     Online                          Telephone
                                                                                                     wellsfargo.com                  1-800-340-0473
              ALISHIA N KIDD
                                                                                                     Correspondence                  Hours of operation
              1228 ANDERSON FERRY RD                                                                 PO Box 10335                    Mon - Fri 7 a.m. - 7 p.m. CT
              CINCINNATI OH 45238-4224                                                               Des Moines, IA 50306
                                                                                                     To learn more, go to:
                                                                                                     wellsfargo.com/escrow


                                                                                                       We accept telecommunications relay service calls



    PLEASE NOTE: If you are presently seeking relief (or have previously been granted
    relief) under the United States Bankruptcy Code, this statement is being sent to you
    for informational purposes only. The summaries below are based on the terms of the
    loan and are provided for informational purposes only.
    These amounts are governed by the terms of the loan unless otherwise reduced by an
    order of the bankruptcy court. Because the amounts billed for the escrow items can
    change over time, we review the escrow account at least once per year to ensure there
    will be enough money to make these payments. Once the review is complete, we send
    the escrow review statement, also known as the escrow account disclosure statement.
                                                                                                 The escrow account has a shortage of
    Here's what we found:
         • Required Minimum Balance: The escrow account balance is projected to                               $178.23
            fall below the required minimum balance. This means there is a shortage.

         •   Payments: As of the July 1, 2020 payment, the contractual portion of the
             escrow payment increases.



      Part 1 - Mortgage payment

             Option 1                Pay the shortage amount over 12 months
                                      Previous payment through New payment beginning with
                                      06/01/2020 payment date   the 07/01/2020 payment
                                                                                                    Option 1: No action required
     Principal and/or interest                  $558.05                   $558.05

     Escrow payment                             $399.24                   $407.87               Starting July 1, 2020 the new contractual
     Total payment amount
                                                                                                payment amount will be $965.92
                                               $957.29                   $965.92

             Option 2                Pay the shortage amount of $178.23
                                      Previous payment through New payment beginning with
                                      06/01/2020 payment date   the 07/01/2020 payment
                                                                                                    Option 2: Pay shortage in full
     Principal and/or interest                  $558.05                   $558.05

     Escrow payment                             $399.24                   $393.02               Starting July 1, 2020 the new contractual
     Total payment amount                                                                       payment amount will be $951.07
                                               $957.29                   $951.07




                                                          See Page 2 for additional details.


                                            Note: If you are presently seeking relief (or have previously been granted relief) under the United
                                            States Bankruptcy Code, this coupon is being provided for informational purposes only. If your
                                            Chapter 13 plan calls for your Chapter 13 Trustee to make the on-going post-petition mortgage
                                            payments, please contact your attorney or the Trustee’s office before directly sending any
                                            amounts relating to this escrow shortage

                                                                      If you choose to pay the shortage in full as referenced in Option 2, detach this coupon
                                                                      and mail it along with a check for $178.23 to the address that appears on this coupon.
      ALISHIA N KIDD
                                                                      This payment must be received no later than July 1, 2020.


                  Wells Fargo Home Mortgage
                  PO Box 14538
                  Des Moines, IA 50306-3538




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          Part 2 - Payment calculations
                                                   Page 5 of 7
     For the past review period, the amount of the escrow items was $3,227.64. For the coming year, we expect the amount paid from escrow to be
     $4,716.23.

     How was the escrow payment calculated?
     To determine the escrow payment, we add the projected escrow items to be paid over the next 12 months. We base these projected amounts on any
     escrow items that may have been paid in the past and any future anticipated payments to be made. We then divide the amounts by 12 payments to
     determine the escrow amount.

     The chart below includes any actual escrow disbursements as well as any shortage that may have been identified for the past three analysis periods up
     through the date of the analysis.



     Escrow comparison

                                                                                                                                            New monthly
                                          07/18 - 06/19     04/19 - 03/20 01/20 - 05/20       07/20 - 06/21
                                                                                                                           # of               escrow
                                            (Actual)          (Actual)      (Actual)           (Projected)
                                                                                                                          months              amount

     Property taxes                             $2,984.74         $2,983.23       $1,494.64       $2,983.23        ÷         12       =          $248.60
     Property insurance                         $1,661.00         $1,733.00       $1,733.00       $1,733.00        ÷         12       =          $144.42
     Total taxes and insurance                  $4,645.74         $4,716.23       $3,227.64       $4,716.23        ÷         12       =         $393.02
     Escrow shortage                              $826.41             $0.00        $145.07          $178.23        ÷         12       =            $14.85**

     Total escrow                               $5,472.15         $4,716.23       $3,372.71       $4,894.46        ÷         12       =          $407.87


     **
         This amount is added to the payment if Option 1 on page 1 is selected.


     Projected escrow account activity over the next 12 months
     To determine if there will be a shortage or overage in the account, we calculate whether the amount of the lowest projected escrow balance will be
     greater or less than the required minimum balance. This is determined by subtracting the required minimum balance from the lowest projected
     balance. If the outcome is positive, there is an overage. If it is negative, there is a shortage. The calculation is below:


                                                                                                       (Calculated in Part 3 - Escrow account projections
     Lowest projected escrow balance February, 2021                                  -$74.46           table)

     Bankruptcy adjustment‡                                                 +       $682.27

     Minimum balance for the escrow account†                                -       $786.04            (Calculated as: $393.02 X 2 months)


     Escrow shortage                                                        =       -$178.23


     ‡
      This adjustment of $682.27, is the remaining amount of the pre-petition escrow shortage included in our proof of claim being paid through the
     confirmed bankruptcy plan.
     †
      The minimum balance includes a cash reserve to help cover any increase in taxes and/or insurance. To calculate the cash reserve for the escrow
     account, we add the yearly escrow payments, and divide by 12. We take this amount and multiply it by 2 as allowed by state laws and/or the mortgage
     contract to determine the cash reserve.
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                                                                                              Number:
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                                                                                                                                                             Page 3 of 3Main

                                                         Document     Page 6 of 7
      Part 3 - Escrow account projections
     Escrow account projections from July, 2020 to June, 2021
                                             What we
                   Payments to               expect to                                                                   Projected escrow        Balance required
     Date            escrow                   pay out        Description                                                     balance              in the account
     Jun 2020                                                Starting balance                                                      $9.02                    $869.52
     Jul 2020           $393.02                    $0.00                                                                        $402.04                    $1,262.54
     Aug 2020           $393.02                    $0.00                                                                        $795.06                    $1,655.56
     Sep 2020           $393.02                    $0.00                                                                       $1,188.08                   $2,048.58
     Oct 2020           $393.02                    $0.00                                                                       $1,581.10                   $2,441.60
     Nov 2020           $393.02                    $0.00                                                                       $1,974.12                   $2,834.62
     Dec 2020           $393.02                    $0.00                                                                       $2,367.14                   $3,227.64
     Jan 2021           $393.02                     $3.72    HAMILTON COUNTY (W)                                               $2,756.44                   $3,616.94
     Jan 2021              $0.00                $1,490.92    HAMILTON COUNTY (W)                                               $1,265.52                   $2,126.02
     Feb 2021           $393.02                 $1,733.00     AMER STRATEGIC INS CORP                                           -$74.46                     $786.04
     Mar 2021           $393.02                    $0.00                                                                        $318.56                    $1,179.06
     Apr 2021           $393.02                    $0.00                                                                         $711.58                   $1,572.08
     May 2021           $393.02                    $0.00                                                                       $1,104.60                   $1,965.10
     Jun 2021           $393.02                     $3.72    HAMILTON COUNTY (W)                                               $1,493.90                   $2,354.40
     Jun 2021              $0.00                $1,484.87    HAMILTON COUNTY (W)                                                   $9.03                    $869.53

     Totals            $4,716.24                $4,716.23



      Part 4 - Escrow account history
     Escrow account activity from January, 2020 to June, 2020
                           Deposits to escrow                   Payments from escrow                                                       Escrow balance
        Date      Actual      Projected Difference          Actual   Projected Difference                Description           Actual         Projected Difference
     Jan 2020                                                                                        Starting Balance            -$295.61      $3,157.15      -$3,452.76
     Jan 2020        $0.00         $387.15      -$387.15       $3.72            $3.72       $0.00    HAMILTON COUNTY (W)        -$299.33      $3,540.58       -$3,839.91

     Jan 2020        $0.00          $0.00         $0.00     $1,490.92    $1,492.43          -$1.51   HAMILTON COUNTY (W)       -$1,790.25      $2,048.15      -$3,838.40

     Jan 2020        $0.00          $0.00         $0.00     $1,733.00           $0.00   $1,733.00    AMER STRATEGIC INS CORP   -$3,523.25      $2,048.15      -$5,571.40

     Feb 2020      $375.06         $387.15      -$12.09        $0.00     $1,661.00      -$1,661.00   AMER STRATEGIC INS CORP   -$3,148.19       $774.30       -$3,922.49

     Mar 2020      $375.06         $387.15      -$12.09        $0.00            $0.00       $0.00                              -$2,773.13      $1,161.45      -$3,934.58

     Apr 2020      $375.06         $387.15      -$12.09        $0.00            $0.00       $0.00                              -$2,398.07      $1,548.60      -$3,946.67

     May 2020     $3,496.44        $387.15    $3,109.29        $0.00            $0.00       $0.00                               $1,098.37      $1,935.75       -$837.38
     (estimate)

     Jun 2020      $399.24         $387.15       $12.09        $3.72            $3.72       $0.00    HAMILTON                  $1,493.89       $2,319.18       -$825.29
     (estimate)                                                                                      COUNTY (W)

     Jun 2020        $0.00          $0.00         $0.00     $1,484.87    $1,484.87          $0.00    HAMILTON                      $9.02        $834.31        -$825.29
     (estimate)                                                                                      COUNTY (W)

     Totals       $5,020.86    $2,322.90      $2,697.96     $4,716.23    $4,645.74         $70.49




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